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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

MARGUERITE CARRUBBA PLAINTIFF
Vv. CIVIL ACTION NO. 1:07CV1238

HARRISON COUNTY, MISSISSIPPI BY AND

THROUGH ITS BOARD OF SUPERVISORS;

HARRISON COUNTY SHERIFF GEORGE PAYNE;

WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;

KARLE STOLZE, WILLIAMS PRIEST, JAMES A.

GONDLES, JR. AMERICAN CORRECTIONAL

ASSOCIATION; JOHN AND JANE DOES 1-3;

HEALTH ASSURANCE LLC AND J. L. WHITE DEFENDANTS

STATE OF MISSISSIPPI
COUNTY OF HARRISON

AFFIDAVIT OF NADINE FERRELL

PERSONALLY CAME AND APPEARED BEFORE ME the undersigned authority in and
for the County and State aforesaid, the within named, NADINE FERRELL, who, after first bemg
duly sworn by me on his oath, did depose and state the following:

1. My name is NADINE FERRELL , and I am over the age of twenty-one (21) years.

currently hold the position of administrative assistant for the Professional Standards
Unit at the Harrison County Adult Detention Center. I have personal knowledge of
the matters and facts contained in this Affidavit and 1 am competent to testify to the
matters stated herein.

2. As the administrative assistant for the Professional Standards Unit, I was given the

EXHIBIT

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responsibility of conducting a search for any and all documents, statements, [A
reports, photographs, and investigation information regarding Plaintiffs booking and
detention at the Harrison County Adult Detention Center on June 17, 2006.

3. Upon completion of my diligent search of box numbers 97, 119, 165, 188, 189, 190,
191, 192, 194, 196, 197, and 200, returned from the United States Department of
Justice, I was unable to find any additional information at this time:

I certify the above declaration is true and correct,11

der penalty of perjury.

g fae pt.
nt/Nadine Ferrell
Harrison County, Mississippi

Sworn to and subscribed before me on this the [3 day of October, 2009.

Lele, None. Choemode.

Notary Public

Page 2 of 2
